                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                    }
SARAI SERVICES GROUP, INC.1                          }    CASE NO. 18-82948-CRJ-11
                                                     }
                                                     }    CHAPTER 11
                                                     }
                         Debtor                      }


                 ORDER APPROVING AMENDED MOTION FOR RELIEF
                   FROM THE AUTOMATIC STAY TO TERMINATE
                          GROUP INSURANCE POLICIES

        Before the Court is the Amended Motion for Relief from the Automatic Stay to Terminate
Group Insurance Policies, ECF no. 61, filed by UnitedHealthcare Insurance Company and
UnitedHealthcare of Alabama, Inc. (collectively “United”) which is scheduled for hearing on
February 4, 2019. Prior to the hearing, the Debtor filed a Supplemental Response to United’s
Amended Motion for Stay Relief (“Supplemental Response”), ECF no. 124, reporting that the
Debtor no longer opposes the Amended Motion for Stay Relief and requesting that the Court grant
the relief requested.

          Based upon the Debtor’s Supplemental Response, the Court finds that goods cause exists
to lift the stay pursuant to 11 U.S.C. § 362(d)(1).

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        1. United’s Amended Motion for Relief from the Automatic Stay to Terminate Group
           Insurance Policies is hereby APPROVED.

        2. The hearing scheduled on United’s Amended Motion for Relief from Automatic Stay,
           Debtor’s Response, and United’s Reply to Debtor’s Response is hereby VACATED.


Dated this the 31st day of January, 2019.
                                                          /s/ Clifton R. Jessup, Jr.
                                                          Clifton R. Jessup, Jr.
                                                          United States Bankruptcy Judge


1 In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWW JV LLC, Case No. 18-
82949-CRJ-11; Sarai Investment Corporation, case No. 18-82950-CRJ-11; and CM Holding, Inc. Case No. 18-
82951-CRJ-11.

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